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Fn.ED s'~/ \/U€$/ D.c.
IN THE UN:TED sTATEs DISTRICT coURT

FOR THE WESTERN DISTRICT oF TENNEssEE |P q .
WESTERN DIVISION 95\1`.1§ 10 PH 5. 33

““W T":T BSTRCUO
G.BSECT

UNITED STATES OF AMERICA, !§U,OF?N.MEMWMS

  

VS. NO. 04~20408”Ma

MARTIN RHEA,

Defendant.

 

ORDER RESETTING SENTENCING DATE

 

Before the court is the defendant's June lO, 2005, motion to
reset the sentencing of Martin Rhea, Which is presently set for
June 14, 2005. For good cause shown, the motion is granted.

The sentencing of defendant Martin Rhea is reset to Friday,
August 19, 2005, at 3:00 p.m.

lt is so ORDERED this lsdd\day Of June, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

   

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:04-CR-20408 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

